
92 N.Y.2d 944 (1998)
Robert L. Scopelliti, Appellant,
v.
Town of New Castle et al., Respondents.
Court of Appeals of the State of New York.
Submitted August 10, 1998
Decided October 27, 1998.
Motion, insofar as it seeks leave to appeal from the Appellate Division order denying leave to appeal to the Court of Appeals, *945 dismissed upon the ground that such order does not finally determine the action within the meaning of the Constitution; motion, insofar as it seeks leave to appeal from that part of the Appellate Division order dated February 17, 1998 that imposed sanctions upon counsel for appellant, dismissed upon the ground that appellant is not a party aggrieved within the meaning of CPLR 5511; motion for leave to appeal otherwise denied.
